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                                                                                         2017 Apr-29 AM 10:30
                                                                                         U.S. DISTRICT COURT
                                                                                             N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION


MARCUS JEROME ECHOLS,                      )
                                           )
                     Plaintiff             )
                                           )
       vs.                                 )    Case No. 5:16-cv-00036-MHH-HGD
                                           )
SHERIFF ANNA FRANKLIN,                     )
et al.,                                    )
                                           )
                     Defendants            )


                                 MEMORANDUM OPINION

       On August 23, 2016, the magistrate judge filed a report in which he recommended

that the Court dismiss this action without prejudice for failure to exhaust administrative

remedies pursuant to 42 U.S.C. §1997e(a).           (Doc. 14).   The magistrate judge advised

plaintiff Marcus Jerome Echols of his right to file specific, written objections within

fourteen (14) days. (Doc. 14, pp. 7-8). To date, Mr. Echols has not filed objections to

the magistrate judge’s report and recommendation.

       A district court “may accept, reject, or modify, in whole or part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1)(C). A district

court reviews legal conclusions in a report de novo and reviews for plain error factual

findings to which no objection is made. Garvey v. Vaughn, 993 F.2d 776, 779 n. 9 (11th

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Cir. 1993); see also LoConte v. Dugger, 847 F.2d 745, 749 (11th Cir. 1988); Macort

v. Prem, Inc., 208 Fed. Appx. 781, 784 (11th Cir. 2006).1

       Having reviewed Mr. Echols’s complaint and the magistrate judge’s report and

recommendation, the Court finds no misstatements of law in the report and no plain error

in the magistrate judge’s description of the relevant facts.          Therefore, the Court adopts

the magistrate judge’s report and accepts his recommendation that the Court dismiss this

action without prejudice for failure to exhaust administrative remedies pursuant to 42

U.S.C. §1997e(a).

       The Court will enter a separate final judgment.

       DONE and ENTERED this 29th day of April, 2017.




                                               MADELINE HUGHES HAIKALA
                                               U.S. DISTRICT JUDGE




1
  When a party objects to a report in which a magistrate judge recommends dismissal of the action, a
district court must “make a de novo determination of those portions of the report or specified proposed
findings or recommendations to which objection is made.” 28 U.S.C. §§ 636(b)(1)(B)-(C).

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